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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


 MARVIN ALEXANDER,

                Plaintiff,                     Case No. 1:23-cv-01921

        v.                                     Judge John F. Kness

 BCI ACRYLIC, INC.,                            Magistrate Judge Jeffrey Cole

                Defendant.


                     SCHEDULING ORDER UNDER RULE 16(b)

       The Court has reviewed the parties’ Joint Initial Status Report (Dkt. 12), which

contains a proposed discovery plan as required by Rule 26(f)(2). Based on the

discovery plan proposed by the parties, the Court hereby sets the following scheduling

order under Rule 16(b). The Court will modify this schedule “only for good cause.” See

Fed. R. Civ. P. 16(b)(4).


                     Event                                        Deadline

 Motions to Amend the Pleadings               August 25, 2023

 Service of process on any “John Does”        July 25, 2023

 Completion of Fact Discovery                 December 31, 2023

 Disclosure of Plaintiff’s Expert Report(s)   January 31, 2024

 Deposition of Plaintiff’s Expert             March 31, 2024

 Disclosure of Defendant’s Expert Report(s)   February 29, 2024

 Deposition of Defendant’s Expert             April 30, 2024

 Dispositive Motions                          May 31, 2024
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In addition, the parties’ Rule 26(a)(1) Disclosures are due June 30, 2023.

SO ORDERED.

Date: July 21, 2023
                                              JOHN F. KNESS
                                              United States District Judge




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